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UNITED sTATEs DISTRICT coURr '"" ' '
WESTERN DlsTRlcr oF TENNESSEE 05 ,_ __ __ __

WESTERN DIVISION JU‘J 6 PH 5’ 92

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UNITED STATES OF AMERICA, CtEF`zK. L}.§§, D:ST. .,f‘."r',

W.D. O_F 'IN, fw'i£`;iviF-"I"HS
Plaintiff

CASE NO.: 2:05-cv-02188-JPM-tmp
v.

BRYAN CONSTRUCTION COMPANY, INC.,
PATTON & TAYLOR CONSTRUCTION CO.,
TAYLOR GARDNER ARCHITECTS, INC.,
LOONEY-RICKS-KISS ARCHITECT, INC.,
RICHARD A BARRON, THE REAVES FIRM,
INC., SMITH ENGINEERING FIRM, INC.,
DAVID W. MILEM, BELZ/ SOUTH BLUFFS,
INC., HT DEVCO, INC. and S'I`EVE BRYAN,

Defendants.
/

ORDER GRANTING
MOTION FOR SPECIAL ADMISSION
OF ATTORNEY JEFFREY D. KEINER
THIS COURT has considered the Motion of Jeft`rey D. Keiner, a member of the State of
Bar of Florida, for special admission to represent Defendant, Looney Ricks Kiss Architects, Inc.,
in the above-Styled matter Mr. Keiner has met the requirements of L.R. 83.1(b) for special
admission of attorneys The Motion for Specia} Adrnission is hereby GRANTED.
so oRDERED this CQ day of \JW“`~ , 2005.

¢ QM-K(Wl

GE JON PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

Proposed Order prepared by:
JOEL E. ROBERTS

F\orida Bar No. 025 8910
Gray Robinson, P.A.

Post Of`fice Box 3068
Orlando, FL 32802-3068 m`

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(407) 244-5690 Facsirnile
Attomeys for Defendant, \75245\2 ' # 394433 V1

Looney Ricks-Kiss Architect, Inc.

  

 

 

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This notice confirms a copy of the document docketed as number 16 in
case 2:05-CV-02188 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

